  Case 22-20196-tnw            Doc 8 Filed 04/05/22 Entered 04/05/22 06:15:04                       Desc CHAPTER
                                   13 ORDER TO DEBTOR Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Kentucky
                                              Covington Division
                             Mailing Address: 100 E Vine Street Ste 200, Lexington, KY 40507−1430

In re Sarah Jane Thomas−Clos
                                                             Case No.
     6 Arrington Ave                                                             22−20196−tnw
     Maysville, KY 41056
aka/dba: Sarah Jane Clouse
         Sarah Jane Clos                                     Chapter:
         Sarah Jane Thomas                                                       13

                                                              Trustee:
Debtor(s)
                                                                                 Beverly M. Burden
                                                                                 PO Box 2204
                                                                                 Lexington, KY 40588
                                                                                 (859) 233−1527

                                    CHAPTER 13 ORDER TO DEBTOR
       1) Within 14 days from the date of the filing of the petition, the debtor(s), by counsel, shall transmit the
following     documents to the chapter 13 trustee via the trustee's document portal at
https://documents.ch13edky.com, or by       email to documents@ch13edky.com:

      a) A copy of all deeds or contracts under which the debtor holds title to or any interest in real estate;

      b) A copy of all recorded mortgages on all real estate in which the debtor holds an interest (the copy must
         show the date on which the mortgage was recorded by the county clerk, the county in which the mortgage
         was recorded, and the property description);

      c) A copy of all Certificates of Title on which any debtor's name appears as owner (either individually or
         jointly) of any motor vehicle or manufactured (mobile) home which serves as security or was intended to
         serve as security for any loan;

      d) A copy of the debtor's last federal income tax return;

      e) A copy of paycheck stubs or equivalent documents issued by the debtor's employer showing the gross
         earnings and all deductions for at least 60 days before the filing of the petition.

2) If the debtor is not represented by an attorney, the debtor shall send copies (not originals) of the above−listed
    documents by mail to the trustee whose name and address appear above. The debtor's name and case number
    must be identified on each document or in a cover letter affixed to the documents.

3) The debtor is restrained and enjoined from selling, transferring, abandoning, releasing to creditors, or in any
   way disposing of property until further orders of the court.

4) Failure to timely comply with this order may result in the dismissal of the case.

5) Debtor(s) must present a valid photo identification at the Meeting of Creditors.
DATED: 4/5/22
                                                               By the court −
                                                               /s/Tracey N. Wise
                                                               Tracey N. Wise
                                                               U.S. Bankruptcy Judge

KYE_od13                                                                                                   8
